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                                  UNITED STATES D:STRICT COURT
                                   MIDDLE D:STRiCT OF FLORIDA
                                       FORT MYERS DIViSiON

         UNITED STATES OF AMERICA

         V                                                CASE N0 2:13‐ cr‐ FtM‐ 29CM

         PATRIC!A LYNN HOuGH

                                        PAYMENT AGREEMENT
                                           I BACKGROUND
               On October 24,2013,after a h″ elve‐ day,ury trlal,the defendant Patricia Lynn

        Hough was found gu‖ ty of orle count of conspiracy to defraud the united states and

        three cOunts ofw‖ lfu‖ yl‖ ng false tax returns    On」 anuary 22,2016,an amended

        iudgment was entered in the Unned States Dist‖ ct Court,Middle Distnct oF F:olda

        against Hough which imposed,among otherthings,restitution in the amount of

        $51529,135 00 Doc 243

               Demand for payment ofthe resttu‖ on debt was made upon Hough on March 15,

        2016. On」 une 3,2016,upon app‖ cations by the United States,the Courtissued writs

        of 9arnishmenttO Va‖ c Relrement Services Company(Va‖ C)(Doc 253)and Bank of

        Ame"ca(BOA)(Doc 255)forthe purpose of 9arnishing any property of HOugh's in ther

        possessiOn that∞ u:d be app"ed to the restitution obligation on」 une 20,2016,BOA

        l:ed an answerto the writ stating thatit had set aside S50,998 90 from an accountin

        Hough's namer ending in 9374      Doc 257   0n」      uly 1 3,2016,VaHc filed its answer to

        the writ stating that Hough has an annuity po‖ cy with∨ a‖ c ending in 0588 With a va!ue
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       of $359,882.81 as of the date of the answer. Doc.262.

               Although Hough has paid a small portion of her restitution, $3,818.76, as of

       Sepiember 28, 20.16, she currently owes $5,542,98'1.92, consisting of a principal

       balance of $5,525,316.24, and interest in the amount of 917,665.68, which accrues at

      the rate of .520% per annum.

               ln an effort to reach a resolution. and based upon the financial informalion Hough

      furnished to the United States Atlorney's Office, Financial Litigation Unit, on August 2,

      2016, which is atlached and incorporated as Exhibit A, the parties have agreed to the

      terms and conditions below with regards to Hough's repayment of the outstanding

       restitution.

                                             II. AGREEMENT

               This Payment Agreement (Agreement) is entered into between the United States

      of America and defendant Patricia Lynn Hough based upon financial information

      defendant furnished to the United Staies on August 2, 2016, which is attached and

      incorporated as Exhibit A.

               1.     Hough agrees thal she is liable for the current debt balance of $S,S42,

      981.92, consisting of a principal balance of $5,525,316.24, and interest in the amount of

      $17,665.68, which accrues at the rate oI .520% per annum (outstanding restitution).

      Hough agrees that she is liable for this outstanding restitution.

              2.      The outstanding restitution shall be paid as follows:

                      a.     Hough agrees to relinquish any interest she may have in Valic

      annuity policy ending in   0588.   She further agrees not to oppose the United States'
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       pending garnishment action with respect to this account. Hough agrees that she will

       sign any documents necessary to effectuate lhq garnishment and liquidation of this

       account so that funds ultimately received by the United States from Valic annuity policy

       ending in 0588 can be applied to her outstanding restitution.

                      b.    Hough similady agrees to relinquish any interest she may have in

       BOA Money Market Savings account ending in 9374. She further agrees not lo oppose

       the United States' pending garnishment aclion with respect to this account. Hough

       agrees that she will sign any documents necessary to effectuate the garnishment and

       liquidation of thi$ account so that funds ultimately received by the United States from

       BOA Money Market Savings account ending in 9374 can be applied to her outstanding

       restitution.

                      c.   Hough agrees, within 10 days of executing this agreement, to

      tender a cashier's check for 50% of the currenl balance of Vanguard investment

      accounts porx-rco<xtoo<6089 and xxxx,rocxrcoo<6089, held join y with Charlene Lee

      Varga, made payable to "Clerk, U.S. Districl Court" and with the case number

      referenced on lhe check, to the United States Attorney's Office, 400 N. Tampa Street,

      Suit6 3200, Tampa, Florida 33602, Attn: Tori Davis. Hough agrees to provide an

      account statement along with the cashier's check confirming the account balance

      immediately prior to liquidation and verifying that no additional funds have been

      withdrawn since September     20,2016. Upon receipt of these funds, the United States
      agrees that it will not pursue the amount remaining in the Vanguard accounts which

      belong Charlene Lee Varga.
                                                   ¨
                                                   ３
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                    d.     Hough agrees, within 10 days of executing this agreement, to

      tender a second cashier's check in the amount of $50,000.00, made payable to'Clerk,

      U.S. District Court" and with the case number referenced on the check, to the United

      States Attorney's Office, 400 North Tampa Street, Suite 3200, Tampa, Florida 33602,

      Attn: Tori Davis.

                    e.     Hough agrees to sell the real property located at 1548 Selby Lane,

      Unil 7, Sarasota, Florida 34236, currently held in trust by the pakicia Hough Revocable

      Trust (the Property), and to apply 75o/o ol the net proceeds from the sale of the property

      to the outstanding restitution obligation, in accordance with the following terms:

                           i.   The United States agrees to allow Hough to market the Property

                    for sale utilizing a realtor of her choice, and in connection therewith, pay

                    such realtor a normalfee for services rendered with respecl to the sale of

                    the Property, which should not exceed 6% of the sale     price.   Hough will

                    promptly provide a copy of the listing agreement to the United States.

                    Prior to lhe sale of the Property, Hough will allow the United States, at its

                    discretion, to access the Property in order for the United States to conduct

                    an appraisal to evaluate the fair market value of the Property.

                            .      Upon obtaining an offerto purchase the Property on terms

                    and conditions acceptable to Hough, Hough will notify the United States of

                    the iotended sale and, unless the United States objects to the sale within

                    10 business days of receipt of the Offer to Purchase, Hough will move

                    forward loward closing the   sale,   Before the United States can approve
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                  the sale of the Property, Hough must provide the United States with the

                  anticipated or proposed HUD-l seftlement statement. The United States

                  will approve the sale provided that the sale price is commercially

                  reasonable, ie., equals or is within 5% of the fair market value of the

                  Property, as determined by the Uniled States' appraiser, and the seller is

                  obligated to pay only the usual and cuslomary closing costs for Florida

                  real estate lransactions.

                         iii.     At closing, any and atl mortgages, or other valid liens against

                  the Property, and property taxes, shall be paid in accordance with their

                  priority under Florida   law.   ln addition, the United States shall be

                  reimbursed for the costs associated with obtaining the appraisal, if any, of

                  the Properly.

                         iv.      After payment of all usual and customary closing costs

                  associated with the sale, and the amounts sel forth in lhe preceding

                  paragraph, 75olo of the net proceeds due to the seller at closing shall be

                  paid to the "Clerk, U.S. Disricl Court," for application towards Hough's

                  restitution obligation. Proof of payment shall be simultaneousty provided

                  to the United States.

                         v.       lf the Prope(y is not sold by January 31, 2018, unless

                  agreed otheMise by the pariies, Hough agrees to allow the United States,

                  at its option, to markel and sell the Property, in accordance with eilher the

                  Federal Debt Collection Procedures Acl or any applicable federal slatute,
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             3.     lf any payment outlined above is not received by the noted due date or if

      Hough does not comply with any terms or conditions above, Hough shall be deemed in

      default of this Agreement; however, Hough shall have 5 days after notice to Hough

      and/or to Hough's attomey of the delinquency to cure the default. It is further agreed

      that in the event of the failure of Hough to make any of the above-specified payments,

      or default on lhis Agreement, lhe United States Attorney will and may at hisiher option,

      declare lhis Agreement null and void, and the United States will proceed to execute on

      the judgment as allowed by law without further notice to Hough,

             4.     Hough agrees that she is required to submit a completed financial

      Statement upon requesl by the United States of America, but at least annually, at any

      time while her restitution obligation remains outstanding and that this Agreement is

      subjecl to change based on her ability to pay as reflected in the financial statement.

      Hough agrees that she has an ongoing obligation to disclose to the United States any

      material change in her economic circumstances that might affect her ability to pay

      restitution, including, but not limited to, any new or additional sources of income, and

      further agrees that the United Stales may seek a regularly monthly paymenl from

      Hough rn the event her income increases.

             5.     Contingent upon Hough's compliance with the terms of this Agreement,

      the United States agrees, for purposes of enforcement of the oulstanding restitution, not

      to pursue any additional assets identified by Hough in her August 2, 2016 financial

      affidavit attached as Exhibit A.

             6.     ln addition to the payments outlined above, Hough's debt will be submitted


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      to the Departmenl of rreasury for incrusion in the Treasury offset program.
                                                                                  under this
      program, any federal payment for which Hough would normally
                                                                  be eligible may be offset
      and applied to this debt.

              Z        This Agreement contains a comprete descriprion of the bargain
                                                                                     between
      the panies. Alr materiar representations, understandings, and promises
                                                                             of the parties
      are contained in this Agreement. Any modmcalion must be set forth in
                                                                           writing by all
      parties. Hough represenrs that this Agreement is entered into
                                                                    wiih knowredge of the
      events described herein. Hough further represents that lhis Agreement
                                                                            is voluntarily
      entered into lo repay the restitution debt in this case.

             our signarures are proof that each party fuly understands the implications of this




                    L HOUGH
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                                                                 11   I ao\L
            E UDOLF, Esquire                                     DATE
              fOrthe Defendanl



     FOR THE UNITED STATES:


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                       NEBESKY
                   United States Attorney




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